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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


    CHRISTOPHER COBB,

                 Petitioner,                                  CIVIL ACTION NO.: 2:23-cv-8

         v.

    WARDEN JEFFRY FIKES,

                 Respondent.


                               REPORT AND RECOMMENDATION

        Petitioner Christopher Cobb (“Cobb”) was incarcerated at the Federal Correctional

Institution in Jesup, Georgia, at the time he filed a 28 U.S.C. § 2241 Petition for Writ of Habeas

Corpus. Doc. 1. Respondent filed a Motion to Dismiss, and Cobb filed a Response. Docs. 7, 9.

Cobb also filed a Motion for Injunctive Relief, to which Respondent filed a Response and Cobb

a Reply. Docs. 11, 13, 15. For the reasons which follow, I RECOMMEND the Court GRANT

Respondent’s Motion to Dismiss, DISMISS without prejudice Cobb’s Petition, DENY as moot

Cobb’s Motion for Injunctive Relief, DIRECT the Clerk of Court to CLOSE this case and enter

the appropriate judgment of dismissal, and DENY Cobb in forma pauperis status on appeal. 1

                                          BACKGROUND

        Cobb was convicted in the Northern District of Alabama of receipt of child pornography,

in violation of 18 U.S.C. § 2252A(a)(2), and possession of child pornography, in violation of 18

U.S.C. § 2252(a)(5)(B). He was sentenced to 210 months’ imprisonment, comprised of a 210-



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         The Court notes Cobb’s “Notice of Intervening Relevant Authority,” doc. 10, but this document
is not actually relevant to Respondent’s Motion to Dismiss, particularly the ground upon which I
recommend the Court grant the Motion.
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month sentence for the receipt conviction and a 120-month sentence on the possession

conviction, to be served concurrently. Doc. 7-2 at 2–3. Cobb has a projected release date of

December 25, 2025, via good conduct release. Doc. 7-1 at 2; Doc. 7 at 2.

        In his Petition, Cobb asks this Court to declare the First Step Act’s (“FSA”) list of

excludable offenses unconstitutional. Doc. 1 at 1. Respondent alleges Cobb lacks standing to

bring his Petition, failed to exhaust his administrative remedies, and has no protected liberty

interest in FSA earned time credits. Doc. 7.

                                           DISCUSSION

I.      Cobb Did Not Exhaust Available Administrative Remedies

        A.     Legal Requirements for Exhaustion

        The Eleventh Circuit Court of Appeals has held a § 2241 petitioner’s failure to exhaust

administrative remedies is not a jurisdictional defect. Santiago-Lugo v. Warden, 785 F.3d 467,

474 (11th Cir. 2015); see also Fleming v. Warden of FCI Tallahassee, 631 F. App’x 840, 842

(11th Cir. 2015) (“[Section] 2241’s exhaustion requirement was judicially imposed, not

congressionally mandated, and . . . nothing in the statute itself support[s] the conclusion that the

requirement [is] jurisdictional.”). Nevertheless, the Eleventh Circuit has noted “the exhaustion

requirement is still a requirement and that courts cannot ‘disregard a failure to exhaust . . . .’” Id.

(citing Santiago-Lugo, 785 F.3d at 475). Additionally, the United States Supreme Court has

“held that the PLRA’s [“Prison Litigation Reform Act’s”] text suggests no limits on an inmate’s

obligation to exhaust—irrespective of any ‘special circumstances.’ And that mandatory

language means a court may not excuse a failure to exhaust, even to take such circumstances into

account.” Ross v. Blake, 578 U.S. 632, 639 (2016).




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        Exhaustion of administrative remedies must occur first in the agency setting to allow “the

agency [to] develop the necessary factual background upon which decisions should be based”

and to give “the agency a chance to discover and correct its own errors.” Green v. Sec’y for

Dep’t of Corr., 212 F. App’x 869, 871 (11th Cir. 2006) (quoting Alexander v. Hawk, 159 F.3d

1321, 1327 (11th Cir. 1998) (first alteration in original)). Furthermore, requiring exhaustion in

the prison setting “eliminate[s] unwarranted federal-court interference with the administration of

prisons” and allows “corrections officials time and opportunity to address complaints internally

before allowing the initiation of a federal case.” Woodford v. Ngo, 548 U.S. 81, 93 (2006). 2

        The United States Supreme Court has noted exhaustion must be “proper.” Id. at 92.

“Proper exhaustion demands compliance with an agency’s deadlines and other critical procedural

rules because no adjudicative system can function effectively without imposing some orderly

structure on the course of its proceedings.” Id. at 90–91. In other words, an institution’s

requirements define what is considered exhaustion. Jones, 549 U.S. at 218. It is not the role of

the court to consider the adequacy or futility of the administrative remedies afforded to the

inmate. Higginbottom v. Carter, 223 F.3d 1259, 1261 (11th Cir. 2000); Varner v. Shepard,

11 F.4th 1252, 1264 (11th Cir. 2021) (noting there is no futility exception for the PLRA’s

exhaustion of administrative remedies requirement), cert. denied, 142 S. Ct. 1172 (2022). The

court’s focus should be on what remedies are available and whether the inmate pursued these

remedies prior to filing suit. Higginbottom, 223 F.3d at 1261.




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         Although Woodford was a civil rights suit rather than a habeas petition, the Court “noted that the
requirement of exhaustion is imposed by administrative law in order to ensure that the agency addresses
the issues on the merits.” Fulgengio v. Wells, CV309-26, 2009 WL 3201800, at *4 (S.D. Ga. Oct. 6, 2009)
(emphasis in original) (quoting Woodford, 548 U.S. at 90) (internal punctuation omitted). Thus, exhaustion
requirements are applicable to habeas petitions.


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        Thus, under the law, prisoners must do more than simply initiate grievances; they must

also appeal any denial of relief through all levels of review that comprise the agency’s

administrative grievance process. Bryant v. Rich, 530 F.3d 1368, 1378 (11th Cir. 2008) (“To

exhaust administrative remedies in accordance with the PLRA, prisoners must ‘properly take

each step within the administrative process.’” (quoting Johnson v. Meadows, 418 F.3d 1152,

1157 (11th Cir. 2005))); Sewell v. Ramsey, No. CV406-159, 2007 WL 201269 (S.D. Ga. Jan. 27,

2007) (finding a plaintiff who is still awaiting a response from the warden regarding his

grievance is still in the process of exhausting his administrative remedies).

        B.      Standard of Review for Exhaustion

        “Even though a failure-to-exhaust defense is non-jurisdictional, it is like” a jurisdictional

defense because exhaustion “ordinarily does not deal with the merits” of a particular cause of

action. Bryant, 530 F.3d at 1374 (internal punctuation and citation omitted). Further, a judge

“may resolve factual questions” in instances where exhaustion of administrative remedies is a

defense before the court. Id. In these instances, “it is proper for a judge to consider facts outside

of the pleadings and to resolve factual disputes so long as the factual disputes do not decide the

merits and the parties have sufficient opportunity to develop a record.” Id. at 1376.

        In Turner v. Burnside, 541 F.3d 1079 (11th Cir. 2008), the Eleventh Circuit set forth a

“two-step process” lower courts must employ when examining the issue of exhaustion of

administrative remedies. 3 First, the court is to take the petitioner’s version of the facts regarding

exhaustion as true. Id. at 1082. If, even under the petitioner’s version of the facts, the plaintiff



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         Although Turner involved exhaustion requirements within the context of a 42 U.S.C. § 1983
action, it appears the two-step process set forth in Turner is no less applicable to a § 2241 proceeding.
See Nichols v. Warden, FCC Coleman-Low, 458 F. App’x 844, 845 (11th Cir. 2012) (finding exhaustion
is jurisdictional in § 2241 decisions and remanding with instructions to dismiss); see also Blevins v. FCI
Hazelton Warden, 819 F. App’x 853, 856 (11th Cir. 2020) (applying Turner in a § 2241 proceeding).


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has not exhausted, the complaint must be dismissed. Id. However, if the parties’ conflicting

facts leave a dispute as to whether petitioner has exhausted, the court need not accept all of

petitioner’s facts as true. Id. Rather, “the court then proceeds to make specific findings in order

to resolve the disputed factual issues[.]” Id. “Once the court makes findings on the disputed

issues of fact, it then decides whether under those findings the prisoner has exhausted his

available administrative remedies.” Id. at 1083. The Eleventh Circuit has held a district court

may consider materials outside of the pleadings and resolve factual disputes regarding

exhaustion in conjunction with a Rule 12(b)(6) motion to dismiss so long as the factual disputes

do not decide the merits of the case. See Bryant, 530 F.3d at 1376–77.

       C.      Analysis of Cobb’s Efforts at Exhaustion

       Respondent asserts Cobb has not filed any administrative remedies relating to his

eligibility for earned time credits. Doc. 7 at 11. In addition, Respondent asserts Cobb does not

dispute he failed to exhaust his administrative remedies but argues exhaustion is not required.

Id. Cobb argues in response exhaustion should be excused, as the BOP cannot provide his

requested relief. Doc. 9 at 6.

       The Bureau of Prisons (“BOP”) has established an administrative remedy procedure

through which an inmate may seek review of a grievance related to any aspect of his

imprisonment. 28 C.F.R. § 542.10 et seq. The Administrative Remedy Program applies to all

inmates incarcerated in penal institutions operated by the BOP. § 542.10(b). Under the

applicable Regulations, an inmate must generally first seek to resolve an issue of concern

informally by presenting the issue to correctional staff. § 542.13(a). If this does not resolve the

matter, an inmate must submit a formal written administrative remedy request (“BP-9”) within

20 calendar days of the incident giving rise to the grievance. § 542.14(a). If unsatisfied with the




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Warden’s response, an inmate may appeal with the Regional Director (“BP-10”) within 20 days

of the Warden’s response. § 542.15(a). If dissatisfied with the Regional Director’s response, an

inmate may take a final appeal (“BP-11”) to the BOP’s Office of General Counsel in

Washington, D.C., within 30 days of when the Regional Director signed the response. Id.

Appeal to the BOP’s Office of General Counsel is the final step in the BOP’s administrative

remedy process. Id. Inmates must complete all three steps of the administrative remedies

process to have exhausted his administrative remedies.

       It is undisputed Cobb has not submitted any administrative remedies on his eligibility for

earned time credits under the FSA, and the record supports this fact. Doc. 7-1 at 3, 13–35

(showing Cobb’s two most recent administrative remedies requests relating to religious rituals

and eyeglasses). Respondent submitted the declaration of Kevin Littlejohn, a paralegal specialist

with the BOP’s Southeast Regional Office, who declares he reviewed Cobb’s administrative

records. Mr. Littlejohn also declares his review reveals Cobb has filed numerous administrative

remedies at all three levels, just no remedies at any level concerning earned time credits under

the FSA. Id. at 3. Cobb seems to acknowledge he did not exhaust his administrative remedies

on this issue, as he asks the Court to waive exhaustion based on futility. Doc. 1 at 3; Doc. 9 at 6.

On its face, Cobb’s Petition should be dismissed, as he admits he did not exhaust his

administrative remedies prior to filing his Petition. See Perez v. Joseph, Case No. 3:22cv2055,

2022 WL 2181090, at *2, *3 (N.D. Fla. May 4, 2022) (noting a petitioner must exhaust

administrative remedies before challenging FSA earned credits calculations in federal court),

report and recommendation adopted, 2022 WL 2176505 (M.D. Fla. June 15, 2022).

       There is no reason to excuse the exhaustion requirement here. Cobb fails to offer any

legally or statutorily supported reason to allow the Court to excuse the exhaustion requirements.




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Ross, 578 U.S. at 639; see also Perez, 2022 WL 2181090, at *2 (There is “no futility exception

applicable to the exhaustion requirement in a § 2241 proceeding.”); Higginbottom, 223 F.3d at

1261; Varner, 11 F.4th at 1264; see also Lopez v. Stone, CV322-102, 2022 WL 7206157, at *3

(S.D. Ga. Oct. 11, 2022) (noting this Court recognizes futility does not excuse exhaustion); Mena

v. Garrett, No. 2:19-cv-124, 2020 WL 5245225, at *4 (S.D. Ga. Aug. 13, 2020) (observing a

§ 2241 petitioner must exhaust administrative remedies even if the BOP would likely reject a

constitutional claim), adopted by 2020 WL 5245125 (S.D. Ga. Sept. 2, 2020). “Even if a futility

exception existed,” Cobb fails to show “any extraordinary circumstances warranting application”

of the exception. Penalosa v. Stone, CV322-041, 2022 WL 11456512, at *3 (S.D. Ga. Sept. 22,

2022) (citing Fuller v. Rich, 11 F.3d 61, 62 (5th Cir. 1994)), adopted by 2022 WL 11429299

(S.D. Ga. Oct. 19, 2022).

        Consequently, the Court should GRANT Respondent’s Motion and DISMISS without

prejudice Cobb’s Petition based on his failure to exhaust his available administrative remedies

prior to the filing of his § 2241 Petition. It is unnecessary to address the remaining grounds of

Respondent’s Motion. Holdago v. United States, Civil Action No.: 5:19-cv-9, 2019 WL

5681217, at *3 (S.D. Ga. Oct. 31, 2019) (finding it unnecessary to address alternative grounds in

motion for dismissal where petitioner failed to exhaust his available administrative remedies),

adopted by 2019 WL 6353869 (S.D. Ga. Nov. 26, 2019).

II.     Leave to Appeal in Forma Pauperis

        The Court should also deny Cobb leave to appeal in forma pauperis. Though Cobb has

not yet filed a notice of appeal, it would be appropriate to address that issue in the Court’s order

of dismissal. See Fed. R. App. P. 24(a)(3) (trial court may certify appeal is not taken in good

faith “before or after the notice of appeal is filed”).




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       An appeal cannot be taken in forma pauperis if the trial court certifies, either before or

after the notice of appeal is filed, the appeal is not taken in good faith. 28 U.S.C. § 1915(a)(3);

Fed. R. App. P. 24(a)(3). Good faith in this context must be judged by an objective standard.

Busch v. County of Volusia, 189 F.R.D. 687, 691 (M.D. Fla. 1999). A party does not proceed in

good faith when he seeks to advance a frivolous claim or argument. See Coppedge v. United

States, 369 U.S. 438, 445 (1962). A claim or argument is frivolous when it appears the factual

allegations are clearly baseless or the legal theories are indisputably meritless. Neitzke v.

Williams, 490 U.S. 319, 327 (1989); Carroll v. Gross, 984 F.2d 392, 393 (11th Cir. 1993). Thus,

a claim is frivolous and not brought in good faith if it is “without arguable merit either in law or

fact.” Moore v. Bargstedt, 203 F. App’x 321, 323 (11th Cir. 2006) (quoting Bilal v. Driver, 251

F.3d 1346, 1349 (11th Cir. 2001)); see also Brown v. United States, Nos. 407CV085, 403CR001,

2009 WL 307872, at *1–2 (S.D. Ga. Feb. 9, 2009).

       Based on the above analysis, there are no non-frivolous issues to raise on appeal, and an

appeal would not be taken in good faith. Thus, the Court should DENY Cobb in forma pauperis

status on appeal.

                                          CONCLUSION

       Based on the foregoing, I RECOMMEND the Court GRANT Respondent’s Motion to

Dismiss, DISMISS without prejudice Cobb’s Petition, DENY as moot Cobb’s Motion for

Injunctive Relief, DIRECT the Clerk of Court to CLOSE this case and enter the appropriate

judgment of dismissal, and DENY Cobb in forma pauperis status on appeal.

       Any objections to this Report and Recommendation shall be filed within 14 days of

today’s date. Objections shall be specific and in writing. Any objection that the Magistrate

Judge failed to address a contention raised in the Complaint must be included. Failure to file

timely, written objections will bar any later challenge or review of the Magistrate Judge’s factual


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findings and legal conclusions. 28 U.S.C. § 636(b)(1)(C); Harrigan v. Metro Dade Police Dep’t

Station #4, 977 F.3d 1185, 1192–93 (11th Cir. 2020). To be clear, a party waives all rights to

challenge the Magistrate Judge’s factual findings and legal conclusions on appeal by failing to

file timely, written objections. Harrigan, 977 F.3d at 1192–93; 11th Cir. R. 3-1. A copy of the

objections must be served upon all other parties to the action.

       Upon receipt of Objections meeting the specificity requirement set out above, a United

States District Judge will make a de novo determination of those portions of the report, proposed

findings, or recommendation to which objection is made and may accept, reject, or modify in

whole or in part, the findings or recommendations made by the Magistrate Judge. Objections not

meeting the specificity requirement set out above will not be considered by a District Judge. A

party may not appeal a Magistrate Judge’s report and recommendation directly to the United

States Court of Appeals for the Eleventh Circuit. Appeals may be made only from a final

judgment entered by or at the direction of a District Judge.

       SO REPORTED and RECOMMENDED, this 20th day of June, 2023.




                                      _____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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